                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:06cr226-2


UNITED STATES OF AMERICA,                )
                                         )
Vs.                                      )                     ORDER
                                         )
RONALD STEVEN SELLS,                     )
                                         )
                  Defendant.             )
________________________________________ )


       THIS CAUSE coming on to be heard and being heard before the undersigned upon

a violation report filed on March 13, 2007 by the United States Probation Office. In the

violation report the United States Probation Office alleged that the defendant had violated

terms and conditions of his pretrial release. At the call of this matter on for hearing it

appeared that the defendant was present with his counsel, Raquel Wilson and that the

Government was present through Assistant United States Attorney, Corey Ellis, and from the

evidence offered and from the statements of the Assistant United States Attorney and the

attorney for the defendant, and the records in this cause, the court makes the following

findings.

       Findings: At the call of the matter, the Government introduced, without objection,

the violation report and a document marked as Government’s Exhibit “1" from Scientific

Testing Laboratories, Inc. The Government then rested. It appears from the evidence in this

cause, that the defendant was charged in a bill of indictment filed on August 7, 2006 with

conspiracy to distribute and dispense cocaine base and the distribution of cocaine base. A



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hearing was held in regard to the detention of the defendant on August 17, 2006. On that

date, the undersigned entered an order releasing the defendant on a $25,000.00 unsecured

bond. The undersigned further set conditions of release which included the following:

       (1)    That the defendant shall not commit any offense in violation of federal, state

              or local law while on release in this case.

       (7)(m) Refrain from use or unlawful possession of a narcotic drug or other controlled

              substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical

              practitioner.

       On February 28, 2007 the defendant submitted to an urinalysis drug test at which time

the defendant tested positive for the use of cocaine. The exhibit introduced into evidence by

the Government upon a sample of urine submitted by the defendant tested positive for the use

of cocaine.

       Discussion. 18 U.S.C. § 3148(b)(1) provides as follows: The judicial officer shall

enter an order of revocation and detention if, after a hearing, the judicial officer -----

       (1)     finds that there is----
               (A) probable cause to believe that the person has committed a
       Federal, State, or local crime while on release; or
               (B) clear and convincing evidence that the person has violated any
        other condition of release; and
       (2)     finds that ---
               (A) based on the factors set forth in section 3142(g) of this title, there
       is no condition or combination of conditions of release that will assure that the person
       will not flee or pose a danger to the safety of any other person or the community; or
               (B) the person is unlikely to abide by any condition or combination
       of conditions of release.



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       If there is probable cause to believe that, while on release, the person committed a
       Federal, State, or local felony, a rebuttable presumption arises that no condition
       or combination of conditions will assure that the person will not pose a danger to
       the safety of any other person or the community.”


       Based upon the evidence, the undersigned finds that there is probable cause to believe

that the defendant committed a federal and state crime while on release. The defendant

possessed cocaine so that he could consume that substance. That possession violated both

federal and state law. The possession of cocaine is a misdemeanor under federal law 21

U.S.C. § 844 and the possession of cocaine is a felony under state law N.C.G.S. § 90-

95(a)(3). Due to the fact that there is probable cause to believe that the defendant committed

a state felony, a rebuttable presumption arises, pursuant to 18 U.S.C. § 3148, that no

condition or combination of conditions would assure that the defendant would not pose a

danger to the safety of any other person or the community.

       There has further been shown by clear and convincing evidence that the defendant

violated a term and condition of release. It appears the defendant has violated the condition

of release that directs him to refrain from use or unlawful possession of a narcotic drug or

other controlled substance defined in 21 U.S.C. § 802 unless prescribed by a licensed medical

practitioner. Cocaine is not a drug which is prescribed by licensed medical practitioners.

       Due to the findings made above and further considering the presumption that has been

created and also considering the factors as set forth under 18 U.S.C. § 3142(g), it appears

there is no condition or combination of conditions of release that will assure that the

defendant will not pose a danger to the safety of any other person or the community. It is the

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opinion of the undersigned that based upon the defendant’s actions, that it is unlikely that

the defendant will abide by any condition or combination of conditions of release. As a

result of the above referenced findings, the undersigned has determined to enter an order of

revocation revoking the unsecured bond and the terms of pretrial release previously issued

in this matter and entering an order detaining the defendant.

                                         ORDER

       WHEREFORE, IT IS ORDERED that the unsecured bond and terms and conditions

of pretrial release entered in this matter are hereby REVOKED and it is ORDERED that

the defendant be detained pending sentencing and further proceedings in this matter.



                                             Signed: March 26, 2007




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